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   9
  10
                          UNITED STATES DISTRICT COURT
  11
                        CENTRAL DISTRICT OF CALIFORNIA
  12
                                    WESTERN DIVISION
  13
     CHER, individually and as Trustee of     )   Case No. 2:21-CV-08157 JAK (RAOx)
  14 The Veritas Trust,                       )
                            Plaintiff,        )   PLAINTIFF’S MEMORANDUM OF
  15                                          )   POINTS AND AUTHORITIES IN
  16        v.                                )   OPPOSITION TO MOTION TO
                                              )   DISMISS
  17 MARY BONO, individually and as           )
     Trustee of the Bono Collection Trust,    )   Date:      April 11, 2022
  18 and DOES 1 through 10, inclusive,        )   Time:      8:30 a.m.
  19                        Defendants.       )           Courtroom of the Honorable
                                              )               John A. Kronstadt
  20                                          )           United States District Judge
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2 1.      INTRODUCTION
   3         (a)   Summary of Argument
   4         This case is not about conflicting state and federal rights. Defendant Mary
   5 Bono’s rights under Section 304(c) of the Copyright Act to terminate certain grants of
   6 copyrights do not conflict with, and do not preempt, plaintiff Cher’s rights under her
   7 1978 marriage settlement agreement (“MSA”). In fact, Section 304(c) expressly
   8 provides:
   9               Termination of a grant . . . affects only those rights covered
  10               by the grant that arise under [the Copyright Act], and in no
  11               way affects rights arising under any . . . State . . . laws.
  12 17 U.S.C. § 304(c)(6)(E). As Cher’s contractual rights to receive royalties and to
  13 approve related agreements arise under state law, they cannot be terminated under
  14 Section 304(c). Indeed, because the MSA is not a “grant of a transfer or license of a
  15 renewal copyright or any right under it,” and was not “executed before January 1,
  16 1978,” the MSA is not subject to termination under Section 304(c) at all.
  17         Ms. Bono also misconstrues the statute in arguing that the MSA is an
  18 “agreement to the contrary,” as referenced in Section 304(c)(5). That Section provides
  19 merely that the termination right itself cannot be contracted away and has no bearing
  20 on the scope of rights that termination affects.
  21         The Court need not decide these issues, however, because Ms. Bono’s motion
  22 to dismiss (“Motion”) fails for a simpler reason: The notice of termination served by
  23 Ms. Bono and other heirs does not, in fact, purport to terminate the MSA or Cher’s
  24 rights thereunder. Termination under Section 304(c) is grant-specific, and rights
  25 under non-terminated grants remain in effect. Thus, even if Cher’s rights under the
  26 MSA could have been terminated (and they could not have been), Ms. Bono’s failure
  27 to even purport to give notice of termination of the MSA means they never were.
  28         Accordingly, Ms. Bono’s Motion should be denied in its entirety.

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   1         (b)    Summary of Facts
   2                (1)    In 1978, Cher and Sonny Bono Execute the MSA
   3         On August 10, 1978, Cher and her former husband Sonny Bono (“Sonny”)
   4 entered into the MSA. Compl. (Doc. 1) at 3, ¶¶ 13-14; see also Def’s RJN (Doc. 18-
   5 2), Ex. A. Paragraphs (9) and (10) of the MSA set forth the division of their
   6 community property.
   7         As relevant here, the community property that Sonny assigned to Cher included
   8 “an undivided 50% interest” in and to all contingent receipts payable and paid after
   9 July 14, 1978 from (a) various record companies, with respect to recordings released
  10 pursuant to record contracts prior to their separation (the “Record Royalties”); and
  11 (b) all sources, with respect to musical compositions authored by Sonny or acquired
  12 by Sonny or his businesses before February 1, 1974 (the “Composition Royalties”),
  13 subject to a deduction for administration fees. Compl. at 3-4, ¶¶ 15-17; Def’s RJN,
  14 Ex. A at 5-7, ¶ (10)(a)-(d). To confirm the equal division, Cher simultaneously
  15 granted an undivided 50% interest in the Record and Composition Royalties to Sonny.
  16 Def’s RJN, Ex. A at 5, ¶ (10).
  17         As Sonny or entities controlled by Sonny would remain in control of the
  18 musical compositions generating the Composition Royalties, Sonny also agreed that
  19 “all agreements with third parties respecting the subject matter of this Paragraph
  20 (10)(d),” i.e., the Composition Royalties, would be subject to Cher’s approval, not to
  21 be unreasonably withheld. Compl. at 4, ¶ 17; Def’s RJN, Ex. A at 7, ¶ (10)(d). Finally,
  22 the parties agreed that the MSA would be binding on their respective heirs and assigns,
  23 and Sonny also specifically agreed that his successors in interest, assigns, and all third
  24 parties with whom he or his businesses contract, are subject to Cher’s right to her
  25 ownership of 50% of the Composition Royalties and her approval rights. Compl. at
  26 4, ¶ 18, Def’s RJN, Ex. A at 7, 17, ¶¶ (10)(d), (21).
  27 ///
  28 ///

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   1                (2)   Ms. Bono and the Other Heirs Assume Sonny’s Ongoing
   2                      Rights and Obligations Under the MSA
   3         Sonny later married Ms. Bono, his fourth wife. After Sonny’s death in January
   4 1998, Ms. Bono served as the administrator of his estate. As administrator, she
   5 formally acknowledged Cher’s rights under the MSA and approved Cher’s creditor’s
   6 claim regarding those rights, including that Cher would continue to receive her share
   7 of the royalties after the closing of the estate. Compl. at 5-6, ¶¶ 20-23. In 1999,
   8 Sonny’s rights were distributed to Ms. Bono and Sonny’s other heirs (the “Heirs”),
   9 who took subject to Sonny’s obligations to Cher under the MSA and, from that time
  10 until recently, paid or caused to be paid to Cher her 50% of the Composition Royalties
  11 and honored Cher’s approval rights under the MSA. Id. at 6, ¶¶ 24-25.
  12         Sometime thereafter, the Heirs transferred their rights to receive royalties,
  13 subject to their obligations to Cher, to the Bono Collection Trust, of which Ms. Bono
  14 is the sole Trustee. Id. at 7, ¶ 27. Then, in 2011, Cher and Ms. Bono, as trustees of
  15 their respective trusts, entered into various agreements with non-party Wixen Music
  16 Publishing, Inc. (“Wixen”), whereby Wixen agreed to serve as administrator of the
  17 royalties owed to Cher and the Heirs (among other things). Id. at 7-8, ¶¶ 28-31. At
  18 all times up to this point, Cher had received sums that Ms. Bono and/or Wixen
  19 represented was Cher’s share of the royalties owed to her under the MSA and her
  20 approval rights were honored. Id. at 6, 8, ¶¶ 25, 31.
  21                (3)   The Heirs Issue Their 2016 Notice of Termination to Various
  22                      Music Publishing Companies—and Not to Cher
  23         In 2016, the Heirs issued a notice of termination pursuant to Section 304(c) of
  24 the Copyright Act, by which they gave notice that certain of Sonny’s pre-1978 grants
  25 of the renewal copyrights in various compositions, or rights therein, would be
  26 terminated, with termination dates ranging from 2018 to 2026.1 Compl. at 8-9, ¶ 33;
  27
     1
            A grant may be terminated at any time during a five-year period beginning at
  28 the later of January 1, 1978 or fifty-six years from the date the copyright was secured.

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   1 see Def’s RJN, Ex. B. The Heirs’ issuance of this notice was done without Cher’s
   2 knowledge or participation. Id. at 9, ¶ 34.
   3         The notice identifies 25 music publishing companies or other entities to whom
   4 Sonny had granted rights, which the notice expressly defines as the “Grantee[s] Whose
   5 Rights Are Being Terminated.” Def’s RJN Ex. B. Tellingly, the notice does not
   6 mention the MSA, and Cher and her trust, The Veritas Trust, were not among the
   7 notice’s list of grantees whose grants were being terminated. See id.
   8               (4)    Five Years Later, Ms. Bono Takes the Position that the
   9                      Termination Notice Terminates Cher’s Rights Under the MSA
  10         For roughly five years after issuance of the termination notice, and roughly
  11 three years after the effective date of the earliest grant terminations, Cher continued
  12 to receive what was represented to be the royalties owed to her under the MSA and
  13 Ms. Bono continued to honor Cher’s approval rights. Compl. at 9, ¶ 35.
  14         However, in or around September 2021, Ms. Bono took the position that the
  15 Heirs’ termination of the grants to the music publishers also somehow ended Cher’s
  16 ownership of 50% of the royalties under the MSA and Cher’s approval rights. Id. at
  17 9, ¶ 36. Ms. Bono also advised Cher that, on the effective termination date of each
  18 grant, the Bono Collection Trust will no longer pay or account to Cher for her
  19 respective interests under the MSA. Id. As her Motion demonstrates, Ms. Bono
  20 continues to maintain this position, and the Heirs have either stopped or will shortly
  21 stop paying the royalties owed to Cher. Id. at 10, ¶ 38.
  22 2.      MS. BONO’S MOTION TO DISMISS SHOULD BE DENIED IN ITS
  23         ENTIRETY
  24         (a)   The Rule 12(b)(6) Standards
  25         In evaluating a motion to dismiss under Federal Rule of Civil Procedure
  26 12(b)(6), a court accepts the factual allegations in the complaint as true, and
  27
     17 U.S.C. § 304(c)(3). The notice of termination must be served between two and ten
  28 years before the termination date. Id. § 304(c)(4)(A).

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   1 determines whether they “state a claim to relief that is plausible on its face.” Ashcroft
   2 v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,
   3 570 (2007)). “Asking for plausible grounds . . . does not impose a probability
   4 requirement at the pleading stage[.]” Twombly, 550 U.S. at 556. Rather, a “claim has
   5 facial plausibility when the pleaded factual content allows the court to draw the
   6 reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal,
   7 556 U.S. at 678.2
   8         (b)    Cher Has Stated a Claim for Declaratory Relief
   9         “The Declaratory Judgment Act . . . permits a federal court to ‘declare the rights
  10 and other legal relations’ of parties to ‘a case of actual controversy.’” Societe de
  11 Conditionnement en Aluminium v. Hunter Engineering Co., 655 F.2d 938, 942 (9th
  12 Cir. 1981) (citation omitted). This “‘actual controversy’ requirement . . . is the same
  13 as the ‘case or controversy’ requirement of Article III,” and the Declaratory Judgment
  14 Act permits suit “once the adverse positions have crystallized and the conflict of
  15 interests is real and immediate.” Id. at 942, 943 (citations omitted). The plaintiff must
  16 have “a real and reasonable apprehension” of being sued, although “the showing of
  17 apprehension need not be substantial.” Hal Roach Studios, Inc. v. Richard Feiner &
  18 Co., Inc., 896 F.2d 1542, 1556 (9th Cir. 1989) (citations omitted).
  19         Ms. Bono does not contest that Cher has sufficiently alleged an “actual
  20 controversy” under the Declaratory Judgment Act, 28 U.S.C. § 2201.                 Cher’s
  21 allegations, and indeed Ms. Bono’s own Motion, demonstrate that Cher has met these
  22 requirements. Before Cher filed suit, Ms. Bono took the position that the Heirs’ notice
  23 terminates Cher’s royalty and approval rights under the MSA, and Ms. Bono in fact
  24 maintains this position in her Motion. Compl. at 3, ¶ 11, 9, ¶ 36; Def’s Memo. (Doc.
  25
       2
  26       While a Rule 12(b)(6) motion is generally directed to the face of the challenged
     pleading, Ms. Bono asks that the Court take judicial notice of the MSA and the Heirs’
  27
     notice of termination. Def’s RJN. Cher does not oppose that request—indeed, both
  28 documents undercut Ms. Bono’s Motion and support Cher’s claims.

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   1 18-1) at 1. Ms. Bono has also indicated that the Bono Collection Trust will no longer
   2 pay or account to Cher for her interests post-termination. Id. at 7, 9, ¶¶ 27, 36. Cher
   3 has thus demonstrated real and reasonable apprehension sufficient to warrant
   4 declaratory relief. See, e.g., Shloss v. Sweeney, 515 F. Supp. 2d 1068, 1075-77 (N.D.
   5 Cal. 2007) (holding author demonstrated sufficient apprehension of liability due to
   6 defendants’ communications denying permission to publish materials and making
   7 “clear, if implicit, threats of litigation”).
   8         (c)    Ms. Bono’s Section 304(c) Termination Notice Does Not Purport to,
   9                and Cannot, Terminate Cher’s Rights
  10                (1)    Section 304(c) Provides for Termination of Only Certain
  11                       Grants, and Only Certain Rights Under Those Grants
  12         Section 304(c) of the Copyright Act provides a mechanism by which authors or
  13 their heirs can terminate a pre-1978 grant of a transfer or license of renewal
  14 copyrights, or rights under the renewal copyright, within a specified five-year period.
  15 17 U.S.C. § 304(c)(1)-(4). The purpose of this termination provision is to provide
  16 authors an opportunity to benefit from the 1976 Copyright Act’s extension of the term
  17 of copyright protection; Congress’s concern was that authors would frequently not be
  18 the beneficiaries of the extended term due to “ill-advised and unremunerative grants
  19 that had been made before the author had a fair opportunity to appreciate the true value
  20 of his work product.” Mills Music, Inc. v. Snyder, 469 U.S. 153, 172-73 (1985);
  21 Penguin Group (USA) Inc. v. Steinbeck, 537 F.3d 193, 197 (2d Cir. 2008) (the
  22 termination right “is based on Congressional recognition that young authors
  23 frequently enter into long-term contracts with publishers when their bargaining power
  24 is weak and their prospects for success uncertain[.]”).
  25         Termination under Section 304(c) “is not automatic,” however. Waite v. UMG
  26 Recordings, Inc., 450 F. Supp. 3d 430, 434 (S.D.N.Y. 2020) (discussing similar
  27 provision for termination under Section 203(a)). Termination of a specific grant is
  28 effected by “serving an advance notice in writing upon the grantee” of the grant, or

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   1 the “grantee’s successor in title,” between two and ten years before the termination
   2 date. 17 U.S.C. § 304(c)(4)(A). The notice must specify the effective date of
   3 termination of that grant and must also be recorded in the Copyright Office before the
   4 effective date of termination. Id. If termination is not “effected under this subsection,
   5 the grant, if it does not provide otherwise, continues in effect for the remainder of the
   6 extended renewal term.” Id. § 304(c)(6)(F).
   7         Termination under Section 304(c) also is limited to certain types of grants.
   8 Specifically, in keeping with the statutory purpose of affording authors an opportunity
   9 to benefit from an increase in value of their copyrights, the statute applies only to
  10 “grant[s] of a transfer or license of the renewal copyright or any right under it,
  11 executed before January 1, 1978 . . . otherwise than by will[.]”3 Id. § 304(c) (emphasis
  12 added). The statute also limits the rights under a grant that revert after termination in
  13 a similar way:
  14                In all cases the reversion of rights is subject to the following
  15                limitations: . . . Termination of a grant under this subsection
  16                [1] affects only those rights covered by the grant that arise under
  17                this title [i.e., the Copyright Act], and [2] in no way affects
  18                rights arising under any other Federal, State, or foreign laws.
  19 Id. § 304(c)(6)(E).
  20                (2)    Ms. Bono’s Notice Purports to Terminate Only Certain Grants
  21                       to Music Publishers and Does Not Even Mention the MSA
  22         Ms. Bono’s Motion should be denied for a simple reason: Ms. Bono never even
  23 purported to terminate the MSA or any of its provisions. As the Heirs’ termination
  24 notice concerns only grants to twenty-five music publishers or other entities, and
  25
  26   3
           In light of this language, Ms. Bono’s assertion that the “only grant that cannot
     be terminated is a grant by will” is clearly wrong. Def’s Memo. at 7:3-4. By limiting
  27
     Section 304(c) to grants of a renewal copyright or a right under a renewal grant,
  28 Congress confirmed that all other grants could not be terminated under Section 304(c).

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   1 neither Cher nor her trust are identified as grantees whose grants are being terminated,
   2 the termination notice could not affect the MSA. See, e.g., 17 U.S.C. § 304(c)(4)(A)
   3 (termination “shall be effected by serving an advance notice in writing upon the
   4 grantee” of the grant); Id. § 304(c)(6)(F); Waite, 450 F. Supp. 3d at 434 (“The earlier
   5 grant will remain in effect absent a termination notice”).
   6          Moreover, the Heirs’ notice cannot reasonably be construed as terminating the
   7 MSA or any of its provisions because Section 304(c) applies only to grants “executed
   8 before January 1, 1978,” whereas the MSA was executed on August 10, 1978. See
   9 Def’s RJN, Ex. A at 1; 17 U.S.C. § 304(c); see also Milne ex rel. Coyne v. Stephen
  10 Slesinger, Inc., 430 F.3d 1036, 1043 (9th Cir. 2005) (termination notice under
  11 Section 304 could not terminate renegotiated licensing agreement executed in 1983).
  12          Ms. Bono nevertheless argues that “the Heirs possess all rights . . . to the
  13 copyrights that are subject to their termination notice,” whether or not the rights were
  14 granted under an expressly terminated grant. Def’s Memo. at 15:17-20. But that is
  15 not how termination works: The statute provides a procedure for terminating rights
  16 under a specific grant, not undoing all agreements that have anything to do with a
  17 copyrighted work. Numerous provisions of Section 304(c) make this clear. See, e.g.,
  18 17 U.S.C. § 304(c)(6)(E) (termination of a grant “affects only those rights covered by
  19 the grant”); Id. § 304(c)(4) (effective termination is conditioned upon delivering
  20 notice “to the grantee” of the grant); Id. § 304(c)(6)(F) (“[i]n all cases the reversion
  21 of rights is subject to the . . . limitation[]” that a grant remains in effect “[u]nless and
  22 until termination is effected under this subsection”); see also Waite, 450 F. Supp. 3d
  23 at 434. Ms. Bono’s reading would also eviscerate the distinction between Section
  24 304, which applies to grants executed before January 1, 1978, and Section 203, which
  25 applies to grants executed on or after January 1, 1978. Compare 17 U.S.C. § 304(c)
  26 with id. § 203(a).
  27          Even if the Heirs could have terminated Cher’s rights under the MSA (which
  28 they could not), they never did, and the Motion should be denied on this basis alone.

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   1                (3)    Cher’s Right to 50% of the Royalties and Right of Approval
   2                       Are Not Terminable Under Section 304(c)
   3                       i.    Section 304(c) Provides for Termination Only of Rights
   4                             that Arise Under the Copyright Act Only, Not State Law
   5         Ms. Bono’s Motion also should be denied because neither the MSA nor Cher’s
   6 rights thereunder are subject to termination under Section 304(c). As explained above,
   7 Section 304(c) provides for termination only of grants of copyrights, or rights under a
   8 copyright, and does not affect rights under a terminated grant that arise under state
   9 law. 17 U.S.C. § 304(c), (c)(6)(E).
  10         As copyright is a “creature of statute,” the “only rights that exist under
  11 copyright law are those granted by statute.” Silvers v. Sony Pictures Ent., Inc., 402
  12 F.3d 881, 883-84 (9th Cir. 2005). The rights that arise under the Copyright Act are
  13 set forth in Section 106, and consist of the “exclusive rights of reproduction,
  14 adaptation, publication, performance, and display.” Rodrigue v. Rodrigue, 218 F.3d
  15 432, 435 (5th Cir. 2000) (citing 17 U.S.C. § 106); Silvers, 402 F.3d at 884.
  16         On the other hand, “[n]othing” in the Copyright Act “limits any rights or
  17 remedies under the common law or statutes of any state with respect to . . . activities
  18 violating . . . rights that are not equivalent to any of the exclusive rights within . . .
  19 section 106.” 17 U.S.C. § 301(b)(3). Thus, a contractual right that relates to a
  20 copyrighted work, but is not “equivalent to any of the[se] exclusive rights,” is a right
  21 arising under state law. Rodrigue, 218 F.3d at 439 (“Among the entire “bundle” of
  22 rights comprising full ownership of property generally, the preemptive effect of
  23 federal copyright law extends only to this explicitly-enumerated, lesser-included
  24 quintet.”); see also cases cited below at 10-11.
  25                       ii.   The MSA is an Assignment of State-Law Rights
  26         Neither Cher’s undivided 50% royalty interest nor her right to approve contracts
  27 relating to the Composition Royalties is a right that arises under the Copyright Act.
  28 ///

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   1 They are state-law contract rights, and are excluded from the rights that revert under
   2 a terminated grant. 17 U.S.C. § 304(c)(6)(E).
   3         Numerous courts have held that a right to receive royalties from copyrighted
   4 musical works, like Cher’s right here, arises under state contract law. See, e.g., Yount
   5 v. Acuff Rose-Opryland, 103 F.3d 830, 834 (9th Cir. 1996) (“[A] royalty interest does
   6 not bespeak an interest in the underlying copyright itself-a royalty is simply an interest
   7 in receiving money when the owner of the copyright exploits it.”); Broadcast Music,
   8 Inc. v. Hirsch, 104 F.3d 1163, 1166 (9th Cir. 1997) (“Assignments of interests in
   9 royalties have no relationship to the existence, scope, duration or identification of a
  10 copyright, nor to ‘rights under a copyright.’”) (citation omitted); Rodrigue, 218 F.3d
  11 at 440 (“Notably absent from the Copyright Act’s exclusive sub-bundle of five rights
  12 is the right to enjoy the earnings and profits of the copyright.”); Malinowski v. Playboy
  13 Enterprises, Inc., 706 F. Supp. 611, 615 (N.D. Ill. 1989) (Claims for “nonpayment of
  14 royalties do not constitute claims arising out of the Copyright Act.”); Wolfe v. United
  15 Artists Corp., 583 F. Supp. 52, 56 (E.D. Pa. 1983) (alleged failures to pay plaintiff
  16 royalties and credit him as author of copyrighted works “were the subject of the
  17 various contractual agreements between” the parties and not copyright infringement
  18 claims); Durgom v. Janowiak, 74 Cal. App. 4th 178, 186 (1999) (dispute over
  19 assignment of royalties “asserted purely state law claims”).
  20         Moreover, while Section 115 of the Copyright Act provides copyright owners
  21 of musical works a right to receive royalties under a compulsory license, the
  22 compulsory licensing scheme applies only to licenses to make and distribute
  23 phonorecords of, or arrange, the underlying musical work. 17 U.S.C. § 115(a).
  24 Because the MSA is not a compulsory license, Cher’s royalty rights arise under state
  25 law. See Peer Intern. Corp. v. Pausa Records, Inc., 909 F.2d 1332, 1338, 1339 n.9
  26 (9th Cir. 1990) (holding defendant’s nonpayment of royalties under purported
  27 compulsory license was not copyright infringement as parties’ license “var[ied] from
  28 ///

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   1 the statutory scheme,” but noting that “a common law action may exist to recover
   2 unpaid royalties”).
   3         Cher’s right to approve contracts relating to the Composition Royalties is also
   4 a right arising under state contract law. This right is not equivalent to any of the
   5 exclusive rights of reproduction, adaptation, publication, performance, or display
   6 under Section 106.       Put differently, if Ms. Bono were to contend that Cher
   7 unreasonably withheld her consent to a contract with a music publishing
   8 administrator, for example, the action would be one for breach of the MSA, because
   9 Cher’s exercise of her approval right does not implicate any exclusive right under the
  10 Copyright Act. See, e.g., Rey v. Lafferty, 990 F.2d 1379, 1392-95 (1st Cir. 1993)
  11 (analyzing author’s allegedly unreasonable withholding of approval of various
  12 products utilizing author’s “Curious George” character under licensing agreement as
  13 state breach of contract claim); cf. Oddo v. Ries, 743 F.2d 630, 634 (9th Cir. 1984)
  14 (licensee committed infringement by publishing licensor’s works in manner that
  15 exceeded scope of license).
  16         Because the MSA transfers only state-law rights, it is not a “grant of a transfer
  17 or license of the renewal copyright or any right under it,” and Section 304(c) expressly
  18 excludes it from potential termination. See 17 U.S.C. § 101 (defining a “transfer of
  19 copyright ownership” as an “assignment . . . exclusive license . . . or any other
  20 conveyance . . . of a copyright or of any of the exclusive rights comprised in a
  21 copyright”); see also Hirsch, 104 F.3d at 1166 (assignment of royalties was not
  22 transfer of copyright ownership). Moreover, even if the MSA were terminable—
  23 which it is not— the rights subject to reversion would not include the state-law royalty
  24 and approval rights at issue here because only rights “that arise under” the Copyright
  25 Act revert. 17 U.S.C. § 304(c)(6)(E). Ms. Bono’s Motion should accordingly be
  26 denied.
  27 ///
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   1                (4)    The MSA is Not an “Agreement To The Contrary”
   2         Even though the Heirs’ notice does not purport to terminate the MSA, Ms.
   3 Bono argues that all rights to the copyrights “revert only to the statutory
   4 beneficiaries notwithstanding any agreement to the contrary, including the MSA.”
   5 Def’s Memo. at 9:13-14; see also id. at 9:3-8 (“[F]uture grants of a transfer or
   6 license of musical compositions . . . are controlled by the Heirs . . . [and] all benefits
   7 thereof, including economic benefits, flow entirely to the Heirs rather than those
   8 music publishers, regardless of the MSA.”). Ms. Bono clearly misreads the statute.
   9         Section 304(c)(5) provides:
  10                Termination of the grant may be effected notwithstanding
  11                any agreement to the contrary, including an agreement to
  12                make a will or to make any future grant.
  13 17 U.S.C. § 304(c)(5). The plain language of this provision demonstrates that the
  14 phrase “agreement to the contrary” has nothing to do with the scope of rights subject
  15 to reversion. Rather, an “agreement to the contrary” means an agreement not to effect
  16 a termination. In other words, this subsection’s provision that “[t]ermination . . . may
  17 be effected notwithstanding any agreement to the contrary” serves to “provide[] an
  18 inalienable termination right.” Classic Media, Inc. v. Mewborn, 532 F.3d 978, 985
  19 (9th Cir. 2008) (citing Stewart v. Abend, 495 U.S. 207, 230 (1990)); see also H.R.
  20 Rep. 94-1476, 94th Cong., 2nd Sess., at 124-25 (1976) (“[a]lthough affirmative action
  21 is needed to effect a termination … the right to take this action cannot be taken away”).
  22         For example, under Section 304(c)(5), the Heirs were able to terminate
  23 copyright grants to music publishers even if Sonny or the Heirs had previously agreed
  24 with the music publishers not to terminate those grants when the time to do so arrived.
  25 That would be true even if their agreements with the music publishers specifically
  26 provided that they would not terminate their grant or otherwise precluded them from
  27 terminating their grant. See, e.g., Classic Media, Inc., 532 F.3d at 986 (holding that,
  28 to the extent assignment agreement operated to transfer heirs’ termination rights prior

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   1 to their exercise, assignment was “void as an ‘agreement to the contrary’”); Marvel
   2 Characters, Inc. v. Simon, 310 F.3d 280, 289 (2d Cir. 2002) (holding settlement
   3 agreement, which retroactively deemed copyrighted work “work for hire” and thereby
   4 precluded author from exercising termination right, was void as “agreement to the
   5 contrary”).
   6         However, nothing in the MSA prevented the Heirs from terminating Sonny’s
   7 grant of copyright rights to the music publishers. Unlike Classic Media and Marvel
   8 Characters, where the agreements would have prevented heirs or an author from
   9 recovering back copyrights that had been granted, the MSA does not prevent the Heirs
  10 from receiving the copyrights or copyright rights they are otherwise entitled to receive
  11 upon termination. Classic Media, 532 F.3d at 980-81 (assignment of motion picture,
  12 television, and radio rights in copyrighted novel); Marvel Characters, 310 F.3d at 284
  13 (assignment of “any and all right, title and interest” to copyrighted works). Instead,
  14 as a matter of state law, the MSA requires the Heirs to account for and pay to Cher
  15 50% of the royalties they receive. Further, if the MSA were considered an agreement
  16 to the contrary, which it plainly is not, that would render meaningless the statute’s
  17 limitation that termination does not affect state-law rights.            See 17 U.S.C.
  18 § 304(c)(6)(E); U.S. v. Atlantic Research Corp., 551 U.S. 128, 137 (2007) (rejecting
  19 interpretation of statute that renders one provision “a dead letter”).
  20                (5)     The MSA is Binding on Ms. Bono and Sonny’s Other Heirs
  21         In a similar vein, Ms. Bono argues that the MSA cannot be binding on the Heirs
  22 because “the reverted copyrights belong to the Heirs individually,” and “no Heir was
  23 a party to the MSA.” Def’s Memo. at 10:3-6. But the MSA provides that it is binding
  24 on Sonny’s heirs and assigns, and that also was expressly recognized by Ms. Bono, as
  25 administrator of Sonny’s estate, when she approved Cher’s creditor’s claim before the
  26 probate court’s distribution to the Heirs. See Compl. at 4-5, ¶¶ 18, 23-24; Def’s RJN
  27 Ex. A at 17, ¶ (21).
  28 ///

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   1         Indeed, Ms. Bono even acknowledges that the MSA binds the Heirs as to
   2 “property and claims that are the subject of the MSA.” Def’s Memo. at 10:9-11. And
   3 Cher has a vested ownership interest in 50% of the royalties, past and future. Ms.
   4 Bono argues that the Heirs are not bound as to matters “outside the MSA, such as the
   5 copyrights that are subject to the termination notice.” Id. at 10:12-13. However,
   6 Cher’s state-law royalty and approval rights are not outside the MSA, and to the extent
   7 the Heirs believe the MSA granted Cher any rights under the Copyright Act, the Heirs’
   8 termination notice does not purport to terminate them. See above at 7-8. Ms. Bono’s
   9 arguments therefore fail.
  10                (6)   Ms. Bono’s Arguments Regarding Preemption and Federal
  11                      Supremacy Fail in Light of Section 304(c)’s Express Terms
  12         Federal preemption of state law takes three forms: “express preemption,
  13 conflict preemption, and field preemption.” Close v. Sotheby’s, Inc., 894 F.3d 1061,
  14 1068 (9th Cir. 2018) (citations omitted). But field preemption does not apply because
  15 “Congress did not . . . preempt the field when it enacted the Copyright Act.” Ryan v.
  16 Editions Ltd. West, Inc., 786 F.3d 754, 760 (9th Cir. 2015). Thus, “claims are not
  17 preempted if they fall outside the scope of § 301(a)’s express preemption and are not
  18 otherwise in conflict with the Act.” Id.; accord Close, 894 F.3d at 1068; In re Jackson,
  19 972 F.3d 25, 34 n.6 (2d Cir. 2020). As discussed below, neither Section 301 express
  20 preemption nor conflict preemption is applicable here.
  21                      i.     Express Preemption Under Section 301 Does Not Bar
  22                             Cher’s Claim for Declaratory Relief
  23                             a.    Cher’s First Claim for Declaratory Relief Is Not a
  24                                   State Claim Preempted by Section 301
  25         A claim is expressly preempted under Section 301 of the Copyright Act where
  26 “[1] the plaintiff’s work ‘come[s] within the subject matter of copyright’ and [2] the
  27 state law grants ‘legal or equitable rights that are equivalent to any of the exclusive
  28 ///

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   1 rights within the general scope of copyright.’” Montz v. Pilgrim Films & Television,
   2 Inc., 649 F.3d 975, 979 (9th Cir. 2011) (quoting 17 U.S.C. § 301(a)).
   3         In arguing that Section 301 preempts Cher’s claim for declaratory relief, Ms.
   4 Bono tries to fit a square peg into a round hole, ignoring that Cher’s claim is a federal
   5 claim for relief as to the Copyright Act. That claim arises under the Copyright Act
   6 and the federal Declaratory Judgment Act because it “require[s] construction of the
   7 [Copyright] Act.” Doc’s Dream, LLC v. Dolores Press, Inc., 959 F.3d 357, 363 (9th
   8 Cir. 2020); see also id. (“The [Declaratory Judgment Act] and the Copyright Act work
   9 in tandem.”); Reilly v. Wozniak, No. CV-18-03775, 2020 WL 1033156 at *6 (D. Ariz.
  10 Mar. 3, 2020) (Copyright Act did not preempt federal declaratory relief claim);
  11 Brown-Thomas v. Hynie, 441 F. Supp. 3d 180, 205 (D.S.C. 2019) (declaratory relief
  12 claim requiring interpretation of termination provisions). This is true even though
  13 Cher’s rights under the MSA arise under state law and Cher seeks a declaration as to
  14 the effect of termination under the Copyright Act. See Standard Ins. Co. v. Saklad,
  15 127 F.3d 1179, 1181 (9th Cir. 1997) (“A person may seek declaratory relief in federal
  16 court if the one against whom he brings his action could have asserted his own rights
  17 there.”); see also Doc’s Dream, LLC, 959 F.3d at 361 (claim seeking declaration that
  18 defendant had abandoned copyright arose under Copyright Act). Cher’s claim for a
  19 declaration of rights under the federal Declaratory Relief Act and the Copyright Act
  20 is therefore not expressly preempted by Section 301.
  21                             b.    Neither Are the State-Law Rights Raised by Cher
  22                                   Preempted by Section 301
  23         Ms. Bono apparently relies on Section 301 to challenge not Cher’s right to seek
  24 declaratory relief under the federal Declaratory Judgment Act, but rather, the merits
  25 of Cher’s assertion of her state rights. In this regard, too, Ms. Bono’s reliance on
  26 Section 301 is misplaced.
  27         Cher’s claim—whether within the rights she seeks declared or her second claim
  28 for breach of contract—is for her 50% share of the royalties and her approval rights.

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   1 As a result, the first step of the Section 301 preemption test is not met because she
   2 does not seek to protect a “work [that] ‘come[s] within the subject matter of
   3 copyright[.]’” Montz, 649 F.3d at 979; see also Sybersound Records, Inc. v. UAV
   4 Corp., 517 F.3d 1137, 1150 (9th Cir. 2008) (under first element, the “content of the
   5 protected right must fall within the subject matter of copyright as described in 17
   6 U.S.C. §§ 102 and 103.”). Cher’s royalty and approval rights arise solely under state
   7 law and neither Section 102 nor Section 103 identifies royalty or approval rights as
   8 within the subject matter of copyright. See, e.g., Downing v. Abercrombie & Fitch,
   9 265 F.3d 994, 1004 (9th Cir. 2001) (right of publicity claim not preempted because
  10 plaintiff’s name and likeness do not fall within subject matter of copyright).4
  11         As for the second step of the Section 301 preemption test, Cher’s royalty and
  12 approval rights are not “equivalent to any of the exclusive rights within the general
  13 scope of copyright.” Montz, 649 F.3d at 979. A right is “equivalent to copyright” if
  14 it is infringed by the mere act of reproduction, distribution, performance or display.
  15 See Laws v. Sony Music Ent., Inc., 448 F.3d 1134, 1144 (9th Cir. 2006); 1 M. NIMMER
  16 & D. NIMMER, NIMMER ON COPYRIGHT § 1.15[F][2] (2021). A state cause of action is
  17 not preempted where it includes an “‘extra element’ that changes the nature of the
  18 action” from an action for copyright infringement. Grosso v. Miramax Film Corp.,
  19 383 F.3d 965, 968 (9th Cir. 2004) (citation omitted).
  20         Cher’s rights to receive her 50% of the royalties and approve related contracts
  21 are not “equivalent” to rights under the Copyright Act. First, they are not infringed
  22 by a mere act of reproduction, performance, distribution, or display, but instead by
  23 Ms. Bono, as trustee of the Bono Collection Trust, failing to pay Cher her royalties
  24
       4
           Ms. Bono does not contend that Cher received an ownership interest in the
  25
     underlying musical compositions’ copyrights. See Def’s Memo. at 2 n.4. Even if Ms.
  26 Bono were to argue to the contrary, she still would fail to establish Section 301
     preemption because of the preemption test’s second step, discussed below, and the
  27
     “extra element” provided by the MSA and the contractual obligation to pay Cher her
  28 50% of the royalties and accord her approval rights. See below at 16-17.

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   1 and honoring her approval rights. See, e.g., Dead Kennedys v. Biafra, 37 F. Supp. 2d
   2 1151, 1154 (N.D. Cal. 1999) (state-law claims concerning alleged conversion of, and
   3 nonpayment of, royalties not preempted by Copyright Act); Rey, 990 F.2d at 1391-95
   4 (holder of copyright to uses of Curious George products subject to contractual
   5 approval rights). Moreover, Cher’s claim arises out of the “bilateral understanding”
   6 memorialized in the MSA and her contractual rights constitute an “extra element” that
   7 removes her claim from the preemptive scope of Section 301. See, e.g., Montz, 649
   8 F.3d at 976-77 (“[A] bilateral understanding of payment constitutes an additional
   9 element that transforms a claim from one asserting a right exclusively protected by
  10 federal copyright law, to a contractual claim that is not preempted[.]”).
  11         Neither the first nor the second step of the test for express preemption under
  12 Section 301 is satisfied and, accordingly, Section 301 does not preempt Cher’s claim.
  13                      ii.   There is No Conflict Between State and Federal Laws in
  14                            this Case
  15         A state law is not preempted under the doctrine of conflict preemption unless
  16 “it actually conflicts with federal law.” Fidelity Fed. Sav. & Loan Ass’n v. de la
  17 Cuesta, 458 U.S. 141, 153 (1982); see also Worth v. Universal Pictures, Inc., 5 F.
  18 Supp. 2d 816, 820 (C.D. Cal. 1997) (“When a party is unable to comply with both
  19 federal and state law, conflict preemption requires that the federal law supersede the
  20 state law.”). There is no conflict between Cher’s rights under the MSA and Ms.
  21 Bono’s rights under Section 304(c) because, again, Section 304(c) expressly provides
  22 that reversion of rights after termination does not include state-law rights. See above
  23 at 9-11; 17 U.S.C. § 304(c)(6)(E).
  24         Ms. Bono argues that Cher’s rights under the MSA conflict with the Copyright
  25 Act because Cher’s rights arise out of state community property laws. See Def’s
  26 Memo. at 12-15. As a preliminary matter, Ms. Bono cannot reasonably argue that the
  27 Copyright Act preempts all community property laws that have any effect on
  28 copyright ownership: The Copyright Act “expressly acknowledges that state law

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   1 continues to operate unless there is a direct and irreconcilable clash between a state
   2 law right and an exclusive right under the Act.”           Rodrigue, 218 F.3d at 439
   3 (“[C]opyright law does not occupy the entire ‘field’ and thereby totally eclipse all
   4 state marital property law.”).
   5         Moreover, the Copyright Act’s preemptive effect on community property law
   6 is irrelevant because Sonny agreed in the MSA—as a matter of contract—to assign
   7 the royalty and approval rights to Cher. See Compl. at 3-4, ¶ 15; see also Def’s RJN,
   8 Ex. A at 6-7, ¶ (10) (“Husband and Wife agree that there shall be an equal division of
   9 the following property and interests in property[.]”). A division of community
  10 property was contemplated and effected by the MSA, but that does not change the fact
  11 that Cher asserts rights under that contract, not under community property law.
  12         But even if Cher received these rights solely by way of California community
  13 property law (and she did not), the Copyright Act would not preempt her claim. In
  14 distinguishing between rights that revert under a terminated grant and those that do
  15 not, the Copyright Act focuses on the character of the right—whether it arises under
  16 the Copyright Act or state law—not the particular state-law mechanism by which the
  17 rights were acquired. See 17 U.S.C. § 304(c)(6)(E); Mills Music, 469 U.S. at 174
  18 (explaining that, under separate derivative works exception to termination, the
  19 “distinction between the rights that revert to the author and those that do not revert is
  20 based on the character of the right—not on the form . . . of written instruments[.]”).
  21         Cher’s position also does not “subvert Congress’ intent” of ensuring that
  22 “authors and authors’ heirs, not grantees or ex-spouses, would benefit from the
  23 extended term of copyright.” Def’s Memo. at 15:20-22. The MSA leaves the Heirs
  24 free to enter into new music publishing agreements with respect to the copyrights on
  25 better terms, or exercise any rights available to them under the Copyright Act. And
  26 the Heirs will continue to reap the financial benefit of doing so, as they retain Sonny’s
  27 share of royalty interests under the MSA. In any event, if Congress wanted to
  28 distinguish between state-law rights provided to an ex-spouse and those provided to

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   1 others, it could have, but it did not, and the plain text of the statute is dispositive. See
   2 Mills Music, 469 U.S. at 164 (“In construing a federal statute it is appropriate to
   3 assume that the ordinary meaning of the language that Congress employed ‘accurately
   4 expresses the legislative purpose’”) (citation omitted); see also H.R. Rep. 94-1476
   5 (Similar language in termination provision of Section 203(b) “makes clear that, unless
   6 effectively terminated . . . all rights covered by an existing grant will continue . . . and
   7 that rights under . . . State . . . laws are unaffected.”).
   8                       iii.   Marriage of Worth and Rodrigue Are Not Relevant
   9         For similar reasons, Ms. Bono’s claim that Cher’s position depends on the
  10 holdings of In re Marriage of Worth, 195 Cal. App. 3d 768 (1987), and Rodrigue, 218
  11 F.3d at 432, is incorrect. Those cases concern whether the Copyright Act preempts a
  12 transfer of copyright ownership by operation of state community property laws. The
  13 court in Worth held that such a community property interest is not preempted. Worth,
  14 195 Cal. App. 3d at 773, 777.5 And the Fifth Circuit in Rodrigue agreed, insofar as
  15 the community property law transferred the “economic benefit produced by or derived
  16 from the copyright,” because the right to receive economic benefits does not arise
  17 under the Copyright Act. Rodrigue, 218 F.3d at 435, 437.6 While neither case
  18 addresses whether a community property interest in a copyright is subject to
  19
       5
  20        Worth did not hold, as Ms. Bono may argue, that an assignment of royalties
     constitutes an assignment of rights under the Copyright Act. Rather, it held that the
  21 non-author spouse’s copyright ownership arose by operation of law notwithstanding
  22 a divorce decree that awarded only an equal division of royalties. See 195 Cal. App.
     3d at 774.
  23 6
            On the other hand, Rodrigue concluded that the Copyright Act would preempt
  24 Louisiana community property law to the extent it failed to recognize the author’s
     “continued entitlement to the exclusive control and management of the five rights . . .
  25
     specified in § 106.” Rodrigue, 218 F.3d at 443. That conclusion is irrelevant here
  26 because Cher’s approval right was not imposed on Sonny by California community
     property law. Instead, Sonny entered into a bilateral contract that included providing
  27
     Cher with a right of approval. Authors grant third parties approval rights all the time
  28 and no court has ever found a contractual approval right to be preempted.

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   1 termination, that question is not at issue here. As Cher’s royalty and approval rights
   2 are state-law rights, they cannot be terminated even assuming, arguendo, Cher
   3 received other community property interests that could. See 17 U.S.C. § 304(c)(6)(E)
   4 (“Termination of a grant . . . affects only those rights covered by the grant that arise
   5 under [the Copyright Act]”) (emphasis added).
   6         There is absolutely no merit to Ms. Bono’s contention that the Heirs’ notice of
   7 termination terminated Cher’s state-law rights under the MSA. The Heirs’ notice does
   8 not even mention the MSA or Cher, and Section 304(c) expressly states that
   9 termination is limited to grants of rights arising under the Copyright Act, that
  10 termination does not affect rights under state law, and that a grant continues in effect
  11 unless otherwise terminated.       Ms. Bono’s Motion to dismiss Cher’s claim for
  12 declaratory relief is properly denied.
  13         (d)    Cher Has Stated a Claim for Breach of Contract
  14         Ms. Bono also moves to dismiss Cher’s second claim for breach of contract. In
  15 this claim, Cher alleges that Ms. Bono has breached the MSA by, among other things,
  16 refusing to pay Cher the royalties owed to her and repudiating her approval rights over
  17 third-party agreements respecting the Composition Royalties. Compl. at 14-15,
  18 ¶¶ 46-48.
  19         Ms. Bono does not dispute that Cher’s claim is well-pleaded. Nor could Ms.
  20 Bono. Cher has alleged the contract at issue, her performance, both actual and
  21 anticipatory breaches by Ms. Bono, and damages resulting therefrom. See id.; Amelco
  22 Electric v. City of Thousand Oaks, 27 Cal. 4th 228, 243 (2002) (“Under a breach of
  23 contract theory, the plaintiff must demonstrate a contract, the plaintiff’s performance
  24 . . . breach, and damage to the plaintiff.”) (citation omitted); Central Valley Gen. Hosp.
  25 v. Smith, 162 Cal. App. 4th 501, 514 (2008) (“When a promisor repudiates a contract,
  26 the injured party . . . can treat the repudiation as an anticipatory breach and
  27 immediately seek damages for breach of contract[.]”) (citation omitted).
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   1         While Ms. Bono also asserts that there are “other aspects” of the claim that are
   2 “improper,” including that it is not based on “actual facts,” she admits that these issues
   3 “cannot be reached on a motion to dismiss” and are “not properly before the Court.”
   4 Def’s Memo. at 16:10-24. In any event, none of the facts that Ms. Bono accuses Cher
   5 of misstating—for example, that Ms. Bono “has always granted Cher a right to
   6 approve licenses of the musical compositions,” id.—contradicts the dispositive facts
   7 at issue here: Ms. Bono is using a wholly inapplicable statutory termination provision
   8 of the Copyright Act as a pretense to deprive Cher of her rights under the MSA.
   9         Instead, Ms. Bono’s sole basis for challenging the breach of contract claim is
  10 that the claim is preempted by the Heirs’ “right to terminate.” Id. at 16:7-9. But as
  11 discussed above, Cher’s royalty and approval rights are state-law contract rights that
  12 are not equivalent to any of the exclusive rights in Section 106 of the Copyright Act.
  13 See above at 9-11. Also, it is well established that a “bilateral understanding” supplies
  14 the “extra element” that removes a breach of contract claim from the preemptive scope
  15 of the Copyright Act. Montz, 649 F.3d at 976, 980 (“Contract claims generally survive
  16 preemption because they require proof of such an extra element.”); Ryan, 786 F.3d at
  17 761 (similar); see also Altera Corp. v. Clear Logic, Inc., 424 F.3d 1079, 1089 (9th
  18 Cir. 2005) (“Most courts have held that the Copyright Act does not preempt the
  19 enforcement of contractual rights.”); Dead Kennedys, 37 F. Supp. 2d at 1154;
  20 Craigslist Inc. v. 3Taps Inc., 942 F. Supp. 2d 962, 977 (N.D. Cal. 2013) (claims for
  21 breach of contractual provisions were not preempted because they did not “merely
  22 prohibit copying or reusing content”). Cher’s breach of contract claim is thus not
  23 preempted by the Copyright Act, and Ms. Bono’s Motion should be denied.
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   1 3.     CONCLUSION
   2        For the foregoing reasons, Cher respectfully requests that the Court deny
   3 Ms. Bono’s Motion in its entirety.
   4
   5 Dated: December 22, 2021                       /s/ Peter Anderson
   6                                               Peter Anderson, Esq.
                                                  Sean M. Sullivan, Esq.
   7                                                Eric H. Lamm, Esq.
                                             DAVIS WRIGHT TREMAINE LLP
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                                                           CHER
   9                                           Individually and as Trustee of
                                                     The Veritas Trust
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